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    14   League, NFL Enterprises LLC, and the
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    15

    16                                UNITED STATES DISTRICT COURT
    17                             CENTRAL DISTRICT OF CALIFORNIA
    18
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (SKx)
    19     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                        JOINT STIPULATION TO
    20     ______________________________              ADJUST MOTION IN LIMINE
    21                                                 BRIEFING SCHEDULE
           THIS DOCUMENT RELATES TO:
    22     ALL ACTIONS                                 Judge: Hon. Philip S. Gutierrez
    23                                                 Pretrial-Conference Date: 2/7/2024
                                                       Trial Date: 2/22/2024
    24                                                 Courtroom: First Street Courthouse
    25                                                             350 West 1st Street
                                                                   Courtroom 6A
    26                                                             Los Angeles, CA 90012
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     1           WHEREAS, this matter is presently scheduled for trial to commence on
     2   February 22, 2024;
     3           WHEREAS, pursuant to the Court’s Trial Order (see Docket No. 435), the
     4   parties’ motions in limine must be filed on January 8, 2023 (45 days prior to trial),
     5   the oppositions on January 26, 2024 (25 days prior to trial), and the replies on
     6   February 12, 2024 (10 days prior to trial);
     7           WHEREAS, counsel for Plaintiffs and the NFL Defendants have met and
     8   conferred regarding the briefing schedule and have agreed to an adjusted briefing
     9   schedule that will maximize efficiency in the parties’ preparation for trial and will
    10   give the parties and the Court increased flexibility in the weeks leading up to trial;
    11           WHEREAS, the adjusted briefing schedule agreed to by counsel will not
    12   delay the deadlines set for the briefing and will provide the Court with more time to
    13   consider the motions.
    14           NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through their
    15   respective counsel, hereby stipulate and agree as follows:
    16                (1)       The parties shall file their respective motions in limine on or before
    17                          January 5, 2024;
    18                (2)       The parties shall file their respective oppositions to the motions in
    19                          limine on or before January 19, 2024;
    20                (3)      The parties shall file their respective replies to the motions in
    21                          limine on or before January 26, 2024;
    22                (4)       Subject to the Court’s approval and availability, the parties request
    23                          that argument, if any, held on the parties’ respective motions in
    24                          limine be held at the final pretrial conference.
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     1   IT IS SO STIPULATED.
     2   Dated: December 8, 2023             Respectfully submitted.
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    15                                         Plaintiffs’ Co-Lead Counsel
    16 All signatories listed, and on whose behalf the filing is submitted, concur in the
    17 filing’s content and have authorized the filing.

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          Case No. 2:15-ml-02668-PSG (SKx)            Joint Stipulation to Adjust Motion in Limine Briefing Schedule
